           Case 2:11-cr-00088-LRS           ECF No. 113                filed 09/23/11              PageID.458 Page 1 of 2
O PS 8
(12/04)


                            UNITED STATES DISTRICT COURT
                                                                «16837»
                                                                     for
                                            Eastern District of Washington


 U.S.A. vs.                Edward Austin Bales                                       Docket No.             2:11CR00088-001


                               Petition for Action on Conditions of Pretrial Release

       COMES NOW Matthew D. Elvin, Pretrial Services Officer, presenting an official report upon the conduct
of defendant Edward Austin Bales, who was placed under pretrial release supervision by the Honorable Cynthia
Imbrogno, sitting in the court at Spokane, Washington, on the 7th day of July 2011, under the following conditions:

Standard Condition #2: Defendant shall immediately advise the court, defense counsel and the U.S. Attorney in
writing before any change in address and telephone number.

Violation #1: Edward Austin Bales is considered in violation of his conditions of pretrial release as he moved from
his approved residence on September 1, 2011.

Special Condition #28: Prohibited Substance Testing: If random urinalysis testing is not done through a treatment
program, random urinalysis testing shall be conducted through pretrial services, and shall not exceed six times per
month.

Violation #2: Edward Austin Bales is considered in violation of his conditions of pretrial release as he failed to
appear for urinalysis testing as directed on September 20, 2011.

          RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                   (If short insert here; if lengthy write on separate sheet and attach.)


The evidence for the alleged violations is as follows: On September 21, 2011, the undersigned officer received
notification that the defendant failed to report for urinalysis testing on September 20, 2011, at Pioneer Human
Services. Following notification of his failure to report for required substance abuse testing on September 20,
2011, this officer attempted to contact Mr. Bales through his reported telephone number and via his attorney, to
no avail. On September 22, 2011, this officer conducted an unannounced home visit to Mr. Bales’ approved
residence. Mr. Bales was not available during this visit, and, according to other residents of the Oxford House, Mr.
Bales moved out of the facility on September 1, 2011. Additional contact with Mr. Bales’ attorney was made on
September 22, 2011, to inquire if Mr. Bales had notified her of his change of address. Mr. Bales’ attorney reported
that she had not heard from him and had been unable to contact him.

In light of the above information, it is recommended that the Court issue a warrant for the arrest of the defendant
to answer the above alleged violations.

                           PRAYING THAT THE COURT WILL ORDER A WARRANT
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  Re: Bales, Edward Austin
  September 23, 2011
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                                                            I declare under penalty of perjury that
                                                            the foregoing is true and correct.
                                                            Executed on:      09/23/2011
                                                       by   s/M. D. Elvin
                                                            M.D. Elvin
                                                            Deputy Chief U.S. Probation Officer



THE COURT ORDERS

[ ]      No Action
[; ]     The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      Other
                                                            6&<17+,$,0%52*12
                                                              Signature of Judicial Officer
                                                              
                                                              Date
